         Case 1:22-cr-00007-LKG Document 130 Filed 10/21/22 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: October 21, 2022
        Defendant.                             )
                                               )

                                    SCHEDULING ORDER
       On October 20, 2022, defendant filed motion for leave to file a motion to transfer venue
pursuant to Fed. R. Crim. P. 18.

       In light of the foregoing, the parties shall adhere to the following schedule for the briefing
of defendant’s motion:

      Defendant’s motion to transfer venue         October 21, 2022

      Plaintiff’s response in opposition           November 4, 2022

      Defendant’s reply brief                      November 14, 2022



       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
